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 1 WATERFALL ECONOMIDIS CALDWELL
           HANSHAW & VILLAMANA, P.C.
     5210 E. WILLIAMS CIRCLE, SUITE 800
 2   TUCSON, ARIZONA 85711
     TELEPHONE (520) 790-5828
 3   FACSIMILE (520) 745-1279
     Attorneys for Debtors
 4
                                 IN THE UNITED STATES BANKRUPTCY COURT
 5
                                           FOR THE DISTRICT OF ARIZONA
 6
 7       In re:                                          Chapter 11
 8       JBL RESTAURANT INVESTMENTS, Case No.                         4:22-bk-00886-BMW
         INC.,                                                        4:22-bk-02577-BMW
 9
10       JAMES BRIAN LATTA and DIANE                     MOTION UNDER § 363(f) TO APPROVE
         EILEEN LATTA
                                                         SALE OF REAL PROPERTY AT 3222 N.
11
                                    Debtors.             RIVERBEND PLACE, IN TUCSON, PIMA
12                                                       COUNTY ARIZONA, FREE AND CLEAR
                                                         OF LIENS
13
14                                                              [This filing relates to the Latta
                                                                    Reorganization Case]
15
16                Debtors JAMES BRIAN LATTA, and DIANE E. LATTA (collectively, the
17 “Lattas”) respectfully ask the Court to enter an Order under § 363(f), Rule 6004, and Local
18 Rule 6004-11 authorizing them to sell their residence located at 3222 North Riverbend
19 Place, Tucson AZ 85750 (“Residence”). The Lattas seek to sell the Residence for a
20 purchase price of $668,000 on the terms and conditions set forth in the Purchase and Sale
21 Agreement. which is attached hereto as Exhibit A.
22                This Motion arises under Title 11 and presents a core proceeding over which this
23 Court has authority to enter a final order under 28 U.S.C. §§ 1334(b), 157(b)(2)(E) and
24 (N), and the General Order Referring Bankruptcy Cases and Authorizing Bankruptcy
25
    Unless otherwise denoted, all references in this motion to § are to title 11 of the United States
     1


26 Code and all references to Rules are to the Federal Rules of Bankruptcy Procedure, and all
   references to Local Rules are references to the Local Rules of the United States Bankruptcy Court
27 for the District of Arizona.
28

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 1 Appeals to be Heard by a Bankruptcy Appellate Panel of the U.S. District Court for the
 2 District of Arizona (General Order 01-15).2. This matter is a core proceeding pursuant
 3 to 28 U.S.C. §157(b)(2)(E) and (N). This Motion is supported by the attached Exhibits and
 4 Memorandum of Points and Authorities.
 5      DATED this 25th day of August 2022.
                                          WATERFALL, ECONOMIDIS, CALDWELL,
 6                                        HANSHAW & VILLAMANA, P.C.
 7                                        By: /s/ Kasey Nye
                                             Kasey Nye
 8                                           Attorneys for Debtors/Movants
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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2         I.    Background
 3               1. The Residence and the Liens Against It
 4     1. The Lattas own the single-family residence located at 3222 North Riverbend Place,
 5 Tucson AZ 85750, (the “Residence”) situated in Pima County, State of Arizona and legally
 6 described:
 7         Lot 31 of Riverbend Ranch Estates according to the Map recorded in Book
 8         23 of Maps and Plats at Page 48 of the records of Pima County, Arizona.

 9     2. The Residence is encumbered by the following liens:
10                  a. JP Morgan Chase Bank, NA, Deed of Trust recorded with the Pima

11                      County Recorder August 4, 2005 at Docket 12609, Page 1934,

12                      Sequence 20051500500 (the “JPMC Mortgage”). Estimated Payoff

13                      Balance of $342,693.83.

14                  b. U.S. Bank Home Mortgage’s Deed of Trust recorded with the Pima

15                      County Recorder August 22, 2005 ad Docket 12621, Page 2247,

16                      Sequence 20051620391 (the “U.S. Bank Mortgage”). Estimated

17                      Payoff Balance $107,526.39.

18                  c. Judgment in favor of Harco Properties recorded January 14, 2018 with

19                      the Pima County Recorder at Sequence 20190140456 (the “Harco

20                      Judgment”).

21         II.   Facts Relating to the Motion for Approval of Asset Sale

22     3. On April 26, 2022 the Lattas filed their voluntary joint petition commencing their

23 Subchapter V reorganization case.
24    4. In their schedules they claimed a $250,000 Homestead Exemption on the Residence

25 under Ariz. Rev. Stat. § 33-1101(A).
26    5. On June 21, 2022 the Court ordered the joint administration of their case with JBL

27 Restaurant Investments, Inc.
28

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 1      6. The Debtors’ meeting of creditors was concluded on July 7, 2022. So, the deadline
 2 under Rule 4003(b) to object to the Lattas claiming a homestead exemption in the
 3 Residence expired on August 8, 2022. No parties have objected to the Debtors homestead
 4 exemption. So, the Residence is exempt pursuant to 11 U.S.C. § 522(l).
 5      7. On July 8, 2022, the Debtors filed their application to employ real estate broker
 6 from Arizona Flat Fee to sell the Residence, which was approved by the court by order
 7 entered on July 22, 2022.
 8      8. On August 23, 2022, the Lattas entered into a purchase and sale agreement to sell
 9 the Residence to Craig Thompson and Ana Thompson (the “Buyers”) for $668,000, a true
10 and correct copy of which is attached hereto as Exhibit A. The Purchase Agreement seeks
11 to close no later than October 20, 2022. Under the Purchase Agreement the Lattas have
12 agreed to pay one year’s homeowner’s association dues (approximately $668). The Buyers
13 have no relationship to the Lattas, or any of the Debtors and are not insiders.
14      9. Under the Purchase Agreement the Debtors will pay Arizona Flat Fee $3,800

15 commission as compensation for their work selling the Residence. In addition, the Debtors
16 will pay they Buyers’ agent 2.5% of the purchase price. By this Motion the Debtors are
17 seeking court approval of the Brokers compensation.
18      10. The Debtors anticipate that the sale proceeds will be sufficient to pay the first and

19 second position deeds of trust and yield approximately $190,000 to $195,000 exempt sale
20 proceeds.
21         III.    Law and Argument

22                1. Motion to Approve Sale

23      The Lattas requests that this Court approve the sale of the Residence pursuant to 11
24 U.S.C. §363(f) in the time, place, and manner described above.
25      Although §363 does not explicitly describe a standard for determining when it is
26 appropriate for a court to authorize the sale or disposition of assets, many courts have held
27
28

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 1 that, that sale under §363(b) is appropriate if the transaction is supported by the debtor’s
 2 reasonable business judgment. Committee of Equity Security Holders v. Lionel Corp (In re
 3 Lionel Corp.), 722 F.2d 1063 (2d Cir. 1983); see also Walter v. Sunwest Bank (In re
 4 Walter), 83 B.R. 14 (9th Cir. BAP 1988).
 5      In this instance, the proposed sale benefits the creditors because at current levels the
 6 Lattas cannot afford the mortgage payments on the Residence. The monthly payments on a
 7 new residence will likely be minimal expanding opportunities to increase the projected
 8 disposable income payable to priority and unsecured creditors under the Plan.
 9      The Lattas also request authorization to sell the Residence free and clear of liens,
10 claims, encumbrances and interests, including the claims of JP Morgan Chase Bank, NA,
11 U.S. Bank Home Mortgage, and Harco Properties. Section 363(f) authorizes debtors-in-
12 possession to sell property under section 363(b) "free and clear of any interest in such
13 property of an entity other than the estate" if one of the following conditions is satisfied:
14          (1) applicable nonbankruptcy law permits the sale of such property free and
                clear of such interest;
15          (2) such entity consents;
16          (3) such interest is a lien and the price at which such property is to be sold is
                greater than the aggregate value of all liens on such property;
17          (4) such interest is in bona fide dispute; or
            (5) such entity could be compelled, in a legal or equitable proceeding, to
18              accept a money satisfaction of such interest.
19      11 U.S.C. §§ 363(f)(l) - (f)(5).
20      As to both the JPMC Mortgage and the U.S. Bank Mortgage, the sale satisfies §
21 363(f)(3) because the purchase price is greater than the aggregate value of the liens on the
22 property. As to Harco Judgement, 11 U.S.C. § 363(f)(1) applies because the Lattas would
23 be able to compel the sale of the Residence free and clear under applicable Arizona law.
24      Specifically, Ariz. Rev. Stat. § 33-964(B) provides that “ "Except as provided in § 33-
25 1103, a recorded judgment shall not become a lien on any homestead property. Any
26 person entitled to a homestead on real property as provided by law holds the homestead
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 1 property free and clear of the judgment lien." Ariz. Rev. Stat. § 33-964(B) (2007)
 2 [Emphasis Added].
 3      Ariz. Rev. Stat. § 33-1103, as amended in 2007, in turn provides that, that "[t]he
 4 homestead provided for in § 33-1101, subsection A is exempt from process and from sale
 5 under a judgment or lien, except: . . . [t]o the extent that a judgment or other lien may be
 6 satisfied from the equity of the debtor exceeding the homestead exemption." § 33-1103(A),
 7 (A)(4) (2007).
 8      In this case, however, there will be no sale proceeds in excess of the Lattas’ $250,000
 9 homestead exemption under Ariz. Rev. Stat. § 33-1101. So, the Harco Judgment does not
10 attach to the Residence or its proceeds at all. Thus, the Residence may be sold free and
11 clear of any interest arising from the Harco Judgment.
12                2. Court Approval of Compensation under 11 U.S.C. § 330

13      11 U.S.C. § 330(a) provides:
14
           (1) After notice to the parties in interest and the United States Trustee and a
15      hearing, and subject to sections 326, 328, and 329, the court may award to a trustee,
        a consumer privacy ombudsman appointed under section 332, an examiner, an
16      ombudsman appointed under section 333, or a professional person employed under
17      section 327 or 1103—
               (A) reasonable compensation for actual, necessary services rendered by the
18
           trustee, examiner, ombudsman, professional person, or attorney and by any
19         paraprofessional person employed by any such person; and
20            (B) reimbursement for actual, necessary expenses.

21      The Lattas respectfully request authority to pay Arizona Flat Fee its agreed $3,800 flat
22 fee plus 2.5% of the purchase price to be paid to the Buyer’s agent ($16,700) at closing for
23 its real estate services. AZ Flat Fee’s retention was approved by the Court by order entered
24 on July 22, 2022. AZ Flat Fee has earned its fee by advertising the residence on MLS and
25 its website. Showing the Residence to prospective buyers and real estate agents, and by
26 negotiating and documenting the Purchase Agreement.
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 1     AZ Flat Fee’s services were actual, necessary and the compensation requested is
 2 reasonable. Customarily such services cost as much as 6% of the purchase price which
 3 would be split with the Buyers’ agent half of the commission ($40,080).       The $20,500 to
 4 be paid to AZ Flat Fee and the Buyer’s Agent is more than reasonable. As such the Lattas
 5 respectfully request that the Court allow the Flat Fee its $3,800 fee and Buyer’s agent’s
 6 2.5% commission and authorize payment of such fees and commissions at closing.
 7     WHEREFORE, Debtors respectfully requests that this Court enter an Order:
 8        A. Authorizing the sale of the Residence to the Buyers under 11 U.S.C. § 363(f)
 9            free and clear of claims, liens and encumbrances, including, without limitation,
10            the JPMC Mortgage, the US Bank Mortgage, and the Harco Judgment;
11        B. Requiring the exempt homestead proceeds to be deposited into a segregated

12            debtor in possession account;

13        C. Approving and authorizing payment under 11 U.S.C. § 330 of the $3,800 flat fee

14            to be paid to the Debtors’ appointed real estate broker, AZ Flat Fee, and 2.5%

15            commission to be paid to the Buyer’s real estate agent; and,

16        D. such other and further relief as the Court deems appropriate and just.

17        DATED this 25th day of August, 2022

18                                            WATERFALL, ECONOMIDIS, CALDWELL,
                                              HANSHAW & VILLAMANA, P.C.
19
20                                            By: /s/ Kasey Nye
                                                 Kasey Nye
21                                               Attorneys for Debtors/Movants
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 1                                  CERTIFICATE OF SERVICE
 2              I hereby certify that on August 25, 2022, I electronically filed the foregoing with
 3
     the Clerk of the Court using the Court’s electronic filing system and emailed the following
 4
     parties:
 5
   Renee Shamblin                                     Leonard McDonald on behalf of Wells
 6 Office of the U.S. Trustee                         Fargo Home Mortgage
   230 North First Avenue, Suite 204                  ljm@tblaw.com
 7
   Phoenix, AZ 85003-1706                             ecf@tblaw.com
 8 Renee.S.Shamblin@usdoj.gov
    Attorneys for U.S. Trustee                        Eric Levy, I
 9                                                    Pima County Attorney’s Office
   Lynton Mark Kotzin
10 Kotzin Valuation Partners, LLC                     32 N. Stone
   2700 N. Central Avenue, Ste 1275                   Tucson, AZ 85701
11 Phoenix, AZ 85004                                  Eric.levy@pcao.pima.gov
                                                      Attorneys for Pima County Attorney’s
12 LKotzin@jsheld.com                                 Office
   Subchapter V Trustee
13
                                                      Mark S. Bosco
14 Office of the Attorney General                     Leonard J. McDonald
   C/o Matthew A. Silverman
                                                      Tiffany & Bosco, P.A.
15 2005 North Central Ave.
   Phoenix, AZ 85004-1592                             Seventh Floor Camelback Esplanade II
16 Attorneys for Arizona Department of                2525 E. Camelback Road
                                                      Phoenix, AZ 85016
17 Revenue
18 MATTHEW H. SLOAN and                               U.S. Bank Home Mortgage, a division of
   BRIAN D. MYERS on behalf of Creditor               U.S. Bank National Association
19                                                    4801 Frederica Street
   Harco Properties, LLC
                                                      Owensboro, KY 42301
20 Jennings Haug Keleher McLeod LLP
   2800 N. Central Avenue, Suite 1800
21 Phoenix, AZ 85004                                  U.S. Bank Home Mortgage, a division of
                                                      U.S. Bank National Association
22 mhs@jhkmlaw.com tk@jhkmlaw.com                     C/o CT Corporation
   bdm@jhkmlaw.com
23                                                    3800 N. Central Ave., Suite 460
   Gordon L. Hardy, D.D.S., Manager                   Phoenix, AZ 85012
24 Harco Properties, L.L.C.
25 4207 E. Palo Verde Dr.
   Phoenix, AZ 85018
26 1gordonhardy@gmail.com
27
28

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 1 Mukta Suri
   Authorized Agent or U.S. Bank National
 2 Association
 3 Bonial & Associates, P.C.
   P.O. Box 9013
 4 Addison, TX 75001
   POCInquiries@BonialPC.com
 5
 6 By: /s/ Clarrissa Palma
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             EXHIBIT A




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DigiSign Verified - 7f9f67d7-d504-414e-bac0-919ae2e5f189




         James Mendenhall          08/20/2022


        Craig Thompson                 08/20/2022          Ana Thompson        08/20/2022

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                                                                                                                                                                   Page 1 of 10
      RESIDENTIAL RESALE REAL ESTATE
      PURCHASE CONTRACT                                                                                                                                         "February 2020
      (        )                              The pre-printed portion of this form has been drafted by the Arizona Association of REALTORS®.
                        ARIZONA               Any change in the pre-printed language of this form must be made in a prominent manner.
                        association af        No representations are made as to the legal validity, adequacy and/or effects of any provision,
                        REALTORS"          | including tax consequences thereof. If you desire legal, tax or other professional advice, please                   REALTOR®
       REAL SOLUTIONS. REALTOR® SUCCESS.      consult your attorney, tax advisor or professional consultant.


                 1. PROPERTY
1a.            . BUYER:          Craig     Thompson,           Ana     Thompson
                               BUYER'S      NAME(S)


               . SELLER:                                                                                                                      or [%as identified in section 9c.
          nN




                                SELLER'S      NAME(S)


               . Buyer agrees to buy and Seller agrees to sell the real property with all improvements, fixtures, and appurtenances thereon
               . or incidental thereto, plus the personal property described herein (collectively the “Premises”.
1b.            . Premises Address:           3222        N Riverbend          Place                                                    Assessor's #:   XXX-XX-XXXX

                City:       _Tucson                                                          County:    _Pima                                   AZ, Zip Code:        _85750
                Legal Description:          _Riverbend           Ranch    Estates      Lot     31




1c.             $    660,000.00                          Full Purchase Price, paid as outlined below
                $    5,000.00                            Earnest Money
                $    40,000.00                            Down       Payment    due   at     COE
                $    615,000.00                           Total       Amount    financed




               . Earnest Money is in the form of: [#gPersonal Check | | Wire Transfer |_| Other
               . Upon acceptance of this offer, the Earnest Money, if any, will be deposited with:                     4 Escrow Company           | | Broker's Trust Account.
               . IFTHIS IS AN ALL CASH SALE: A Letter of Credit or a source of funds from a financial institution documenting the availability of
               . funds to close escrow is attached hereto.

1d.            . Close of Escrow: Close of Escrow (“COE”) shall occur when the deed is recorded at the appropriate county recorder’s office.
               . Buyer and Seller shall comply with all terms and conditions of this Contract, execute and deliver to Escrow Company all closing
               . documents, and perform all other acts necessary in sufficient time to allow COE to occur on
                    October                              20          ,20_22       (“COE Date”). If Escrow Company or recorders office is closed on the COE Date,
                MONTH                                    DAY             YEAR

               . COE shall occur on the next day that both are open for business.

               . Buyer shall deliver to Escrow Company a cashier's check, wired funds or other immediately available funds to pay any down
               . payment, additional deposits or Buyer's closing costs, and instruct the lender, if applicable, to deliver immediately available funds to
               . Escrow Company, in a sufficient amount and in sufficient time to allow COE to occur on the COE Date.

               . Buyer acknowledges that failure to pay the required closing funds by the scheduled COE, if not cured after a cure notice is delivered
               . pursuant to Section 7a, shall be construed as a material breach of this Contract and the Earnest Money shall be subject to forfeiture.

               . All funds are to be in U.S. currency.

1e.            . Possession:          Seller shall deliver possession, occupancy, existing keys and/or means to operate all locks, mailbox, security
               . system/alarms, and all common area facilities to Buyer at COE or |_|                                                             .
               . Broker(s) recommend that the parties seek independent counsel from insurance, legal, tax, and accounting professionals regarding
               . the risks of pre-possession or post-possession of the Premises.

1f.            . Addenda Incorporated: | | Additional Clause | | Buyer Contingency [ | Domestic Water Well [#gH.O.A.
               . [| Lead-Based Paint Disclosure | | Loan Assumption [| On-site Wastewater Treatment Facility [ | Seller Financing [| Short Sale
               . [|_| Solar Addendum | | Other:
                                                                                                                                                                                  >>

                                                           Residential Resale Real Estate Purchase Contract « Updated: February 2020
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      Residential Resale Real Estate Purchase Contract                          >>

1a.   39.        Fixtures and Personal Property: For purposes of this Contract, fixtures shall mean property attached/affixed to the Premises.
      40        Seller agrees that all existing: fixtures on the Premises, personal property specified herein, and means to operate fixtures and
                property (i.e., remote controls) shall convey in this sale. Including the following:
                   * built-in appliances, ceiling fans and remotes® media antennas/satellite dishes (affixed)    «storage sheds
                   «central vacuum, hose, and attachments          «outdoor fountains and lighting               storm windows and doors
                   e draperies and other window coverings          outdoor landscaping (i.e., shrubbery,         «stoves: gas-log, pellet, wood-burning
                   «fireplace equipment (affixed)                    trees and unpotted plants)                  timers (affixed)
                   «floor coverings (affixed)                      e shutters and awnings                        towel, curtain and drapery rods
                   «free-standing range/oven                       *smart home devices, access to which          ewall mounted TV brackets and hardware
                   e garage door openers and remotes                 shall be transferred (i.e., video doorbell,   (excluding TVs)
                   slight fixtures                                   automated thermostat)                       * water-misting systems
                   * mailbox                                       e speakers (flush-mounted)                    * window and door screens, sun shades

            . If owned by Seller, the following items also are included in this sale:
                 « affixed alternate power systems serving    *in-ground pool and spa/hot tub equipment security and/or fire systems and/or alarms
                   the Premises (i.e., solar)                  and covers (including any mechanical or water purification systems
                                                               other cleaning systems)                  e water softeners

            . Additional existing personal property included in this sale (if checked):
                "| refrigerator (description):
                __| washer (description):
                 | dryer (description):
                  | above-ground spa/hot tub including equipment, covers, and any mechanical or other cleaning systems (description):

                | other personal property not otherwise addressed (description):
                | other personal property not otherwise addressed (description):

            . Additional existing personal property included shall not be considered part of the Premises and shall be transferred with no
            . monetary value, and free and clear of all liens or encumbrances.

            . Leased items shall NOT be included in this sale. Seller shall deliver notice of all leased items within three (3) days after Contract
            . acceptance. Buyer shall provide notice of any leased items disapproved within the Inspection Period or five (5) days after receipt of
            . the notice, whichever is later.

            . IFTHIS IS AN ALL CASH SALE:             Section 2 does not apply - go to Section 3.

                2. FINANCING
2a.         . Pre-Qualification:      An AAR Pre-Qualification Form is attached hereto and incorporated herein by reference.

2b.         .   Loan Contingency: Buyer's obligation to complete this sale is contingent upon Buyer obtaining loan approval without Prior to
            .   Document (“PTD”) conditions no later than three (3) days prior to the COE Date for the loan described in the AAR Loan Status
            .   Update (“LSU”) form or the AAR Pre-Qualification Form, whichever is delivered later. No later than three (3) days prior to the
            .   COE Date, Buyer shall either: (i) sign all loan documents; or (ii) deliver to Seller or Escrow Company notice of loan
            .   approval without PTD conditions AND date(s) of receipt of Closing Disclosure(s) from Lender; or (iii) deliver to Seller or
            .   Escrow Company notice of inability to obtain loan approval without PTD conditions.

2c.         .   Unfulfilled Loan Contingency: This Contract shall be cancelled and Buyer shall be entitled to a return of the Earnest Money if
            .   after diligent and good faith effort, Buyer is unable to obtain loan approval without PTD conditions and delivers notice of inability
            .   to obtain loan approval no later than three (3) days prior to the COE Date. If Buyer fails to deliver such notice, Seller may issue a
            .   cure notice to Buyer as required by Section 7a and, in the event of Buyer's breach, Seller shall be entitled to the Earnest Money
            .   pursuant to Section 7b. If, prior to expiration of any Cure Period, Buyer delivers notice of inability to obtain loan approval, Buyer
            .   shall be entitled to a return of the Earnest Money. Buyer acknowledges that prepaid items paid separately from the Earnest Money
            .   are not refundable.

2d.         . Interest Rate / Necessary Funds:          Buyer agrees that (i) the inability to obtain loan approval due to the failure to lock the interest
            . rate and “points” by separate written agreement with the lender; or (ii) the failure to have the down payment or other funds
            . due from Buyer necessary to obtain the loan approval without conditions and close this transaction is not an unfulfilled loan
            . contingency.

2e.         . Loan Status Update: Buyer shall deliver to Seller the LSU, with at a minimum lines 1-40 completed, describing the current status
            . of the Buyer's proposed loan within ten (10) days after Contract acceptance and instruct lender to provide an updated LSU to
            . Broker(s) and Seller upon request.



                                                                                                                                                           >>

                                                 Residential Resale Real Estate Purchase Contract « Updated: February 2020
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       Residential Resale Real Estate Purchase Contract                            >>

             . Loan Application:        Unless previously completed, within three (3) days after Contract acceptance Buyer shall (i) provide lender
             . with Buyer's name, income, social security number, Premises address, estimate of value of the Premises, and mortgage loan
             . amount sought; and (ii) grant lender permission to access Buyer's Trimerged Residential Credit Report.

2g.          .   Loan Processing During Escrow: Within ten (10) days after receipt of the Loan Estimate Buyer shall (i) provide lender with
             .   notice of intent to proceed with the loan transaction in a manner satisfactory to lender; and (ii) provide to lender all requested
             .   signed disclosures and the documentation listed in the LSU at lines 32-35. Buyer agrees to diligently work to obtain the loan and
             .   will promptly provide the lender with all additional documentation requested.

             . Type of Financing: | | Conventional | | FHA P4VA [                       |USDA [ | Assumption | | Seller Carryback | |
             . (If financing is to be other than new financing, see attached addendum.)

             . Loan Costs:      All costs of obtaining the loan shall be paid by Buyer, unless otherwise provided for herein.

             . Seller Concessions (if any): In addition to the other costs Seller has agreed to pay herein, Seller will credit Buyer       %
             . of the Purchase Price OR $                   (Seller Concessions). The Seller Concessions may be used for any Buyer fee, cost,
             . charge, or expenditure to the extent allowed by Buyer's lender.

2k.          .   Changes: Buyer shall immediately notify Seller of any changes in the loan program, financing terms, or lender described in the
             .   Pre-Qualification Form attached hereto or LSU provided within ten (10) days after Contract acceptance and shall only make any
             .   such changes without the prior written consent of Seller if such changes do not adversely affect Buyer's ability to obtain loan
             .   approval without PTD conditions, increase Seller's closing costs, or delay COE.

 2l.         .   Appraisal Contingency: Buyer's obligation to complete this sale is contingent upon an appraisal of the Premises acceptable to
             .   lender for at least the purchase price. If the Premises fail to appraise for the purchase price in any appraisal required by lender,
             .   Buyer has five (5) days after notice of the appraised value to cancel this Contract and receive a return of the Earnest Money or
             .   the appraisal contingency shall be waived, unless otherwise prohibited by federal law.

2m.          . Appraisal Cost(s): Initial appraisal fee shall be paid by [#gBuyer | | Seller |_| Other
             . at the time payment is required by lender and is non-refundable. If Seller is paying the initial appraisal fee, the fee | | will | | will not
             . be applied against Seller's Concessions at COE, if applicable. If Buyer's lender requires an updated appraisal prior to COE, it will be
             . performed at Buyer's expense. Any appraiser/lender required inspection cost(s) shall be paid for by Buyer.

                 3. TITLE AND ESCROW
             . Escrow: This Contract shall be used as escrow instructions. The Escrow Company employed by the parties to carry out the
             . terms of this Contract shall be:

                  Stewart     Title
                 ESCROW/TITLE         COMPANY



        8.        3939   E   Broadway     Blvd                                                 Tucson                             AZ          85711
                 ADDRESS                                                                     CITY                                STATE       ZIP

             . _paula.woodard@stewart.com                                                     (520)     327-7373
                 EMAIL                                                                       PHONE                              FAX



3b.          . Title and Vesting: Buyer will take title as determined before COE. If Buyer is married and intends to take title as his/her sole
             . and separate property, a disclaimer deed may be required. Taking title may have significant legal, estate planning and tax
             . consequences. Buyer should obtain independent legal and tax advice.

             .   Title Commitment and Title Insurance: Escrow Company is hereby instructed to obtain and deliver to Buyer and Seller directly,
             .   addressed pursuant to 8s and 9c or as otherwise provided, a Commitment for Title Insurance together with complete and legible copies
             .   of all documents that will remain as exceptions to Buyer's policy of Title Insurance (“Title Commitment”), including but not limited to
             .   Conditions, Covenants and Restrictions (“CC&Rs”); deed restrictions; and easements. Buyer shall have five (5) days after receipt of the
             .   Title Commitment and after receipt of notice of any subsequent exceptions to provide notice to Seller of any items disapproved. Seller
             .   shall convey title by warranty deed, subject to existing taxes, assessments, covenants, conditions, restrictions, rights of way, easements
             .   and all other matters of record. Buyer shall be provided at Seller's expense an American Land Title Association (“ALTA”) Homeowner's
             .   Title Insurance Policy or, if not available, a Standard Owner's Title Insurance Policy, showing title vested in Buyer. Buyer may acquire
             .   extended coverage at Buyer's own additional expense. If applicable, Buyer shall pay the cost of obtaining the ALTA Lender Title
             .   Insurance Policy.




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3d.   133.       Additional Instructions: (i) Escrow Company shall promptly furnish notice of pending sale that contains the name and address of
      134.       Buyer to any homeowner's association(s) in which the Premises are located. (ii) If Escrow Company is also acting as the title agency
      135.       but is not the title insurer issuing the title insurance policy, Escrow Company shall deliver to Buyer and Seller, upon deposit of funds, a
      136.       closing protection letter from the title insurer indemnifying Buyer and Seller for any losses due to fraudulent acts or breach of escrow
      137.       instructions by Escrow Company. (iii) All documents necessary to close this transaction shall be executed promptly by Seller and
      138.       Buyer in the standard form used by Escrow Company. Escrow Company shall modify such documents to the extent necessary to be
      139.       consistent with this Contract. (iv) Escrow Company fees, unless otherwise stated herein, shall be allocated equally between Seller and
      140.       Buyer. (v) Escrow Company shall send to all parties and Broker(s) copies of all notices and communications directed to Seller, Buyer
      141.       and Broker(s). (vi) Escrow Company shall provide Broker(s) access to escrowed materials and information regarding the escrow. (vii)
      142.       If an Affidavit of Disclosure is provided, Escrow Company shall record the Affidavit at COE.

      143. Tax Prorations:          Real property taxes payable by Seller shall be prorated to COE based upon the latest tax information available.

3f.          .   Release of Earnest Money: In the event of a dispute between Buyer and Seller regarding any Earnest Money deposited with
             .   Escrow Company, Buyer and Seller authorize Escrow Company to release the Earnest Money pursuant to the terms and conditions
             .   of this Contract in its sole and absolute discretion. Buyer and Seller agree to hold harmless and indemnify Escrow Company against
             .   any claim, action or lawsuit of any kind, and from any loss, judgment, or expense, including costs and attorney fees, arising from or
             .   relating in any way to the release of the Earnest Money.

             . Prorations of Assessments and Fees:              All assessments and fees that are not a lien as of COE, including homeowner's
             . association fees, rents, irrigation fees, and, if assumed, insurance premiums, interest on assessments, interest on encumbrances,
             . and service contracts, shall be prorated as of COE or |_| Other:

3h.          . Assessment Liens: The amount of any assessment lien or bond including those charged by a special taxing district, such as a
             . Community Facilities District, shall be prorated as of COE.

                 4. DISCLOSURE
             . Seller’s Property Disclosure Statement (“SPDS”): Seller shall deliver a completed AAR Residential SPDS form to Buyer
             . within three (3) days after Contract acceptance. Buyer shall provide notice of any SPDS items disapproved within the Inspection
             . Period or five (5) days after receipt of the SPDS, whichever is later.

4b.          .   Insurance Claims History: Seller shall deliver to Buyer a written five (5) year insurance claims history regarding the Premises (or a
             .   claims history for the length of time Seller has owned the Premises if less than five (5) years) from Seller's insurance company or an
             .   insurance support organization or consumer reporting agency, or if unavailable from these sources, from Seller, within five (5) days
             .   after Contract acceptance. Buyer shall provide notice of any items disapproved within the Inspection Period or five (5) days after
             .   receipt of the claims history, whichever is later.

             .   Foreign Sellers: The Foreign Investment in Real Property Tax Act (“FIRPTA”) is applicable if Seller is a non-resident alien
             .   individual, foreign corporation, foreign partnership, foreign trust, or foreign estate (“Foreign Person”). Seller agrees to complete,
             .   sign, and deliver to Escrow Company a certificate indicating whether Seller is a Foreign Person. FIRPTA requires that a foreign
             .   seller may have federal income taxes up to 15% of the purchase price withheld, unless an exception applies. Seller is responsible
             .   for obtaining independent legal and tax advice.

             .   Lead-Based Paint Disclosure: If the Premises were built prior to 1978, Seller shall: (i) notify Buyer of any known lead-based paint
             .   (“LBP”) or LBP hazards in the Premises; (ii) provide Buyer with any LBP risk assessments or inspections of the Premises in Seller's
             .   possession; (iii) provide Buyer with the Disclosure of Information on Lead-Based Paint and Lead-Based Paint Hazards, and any
             .   report, records, pamphlets, and/or other materials referenced therein, including the pamphlet “Protect Your Family from Lead in Your
             .   Home” (collectively “LBP Information”). Buyer shall return a signed copy of the Disclosure of Information on Lead-Based Paint and
             .   Lead-Based Paint Hazards to Seller prior to COE.
             . |] LBP Information was provided prior to Contract acceptance and Buyer acknowledges the opportunity to conduct LBP risk
             . assessments or inspections during Inspection Period.
             . [_] Seller shall provide LBP Information within five (5) days after Contract acceptance. Buyer may within ten (10) days
             . or            days after receipt of the LBP Information conduct or obtain a risk assessment or inspection of the Premises for the
             . presence of LBP or LBP hazards (“Assessment Period”). Buyer may within five (5) days after receipt of the LBP Information or five
             . (5) days after expiration of the Assessment Period cancel this Contract.

             . Buyer is further advised to use certified contractors to perform renovation, repair or painting projects that disturb lead-based paint in
             . residential properties built before 1978 and to follow specific work practices to prevent lead contamination.
                                           If Premises were constructed prior to 1978, (BUYER'S INITIALS REQUIRED)
                                                                                                                               BUYER            BUYER


                                        If Premises were constructed in 1978 or later, (BUYER'S INITIALS REQUIRED)             ( /              AT
                                                                                                                               BUYER            BUYER




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        183 Affidavit of Disclosure: If the Premises are located in an unincorporated area of the county, and five (5) or fewer parcels of
        184. property other than subdivided property are being transferred, Seller shall deliver a completed Affidavit of Disclosure in the form
        185. required by law to Buyer within five (5) days after Contract acceptance. Buyer shall provide notice of any Affidavit of Disclosure items
        186. disapproved within the Inspection Period or five (5) days after receipt of the Affidavit of Disclosure, whichever is later.

4f.     187.    Changes During Escrow: Seller shall          immediately notify Buyer of any changes in the Premises or disclosures made herein,
        188.    in the SPDS, or otherwise. Such notice       shall be considered an update of the SPDS. Unless Seller is already obligated by this
        189.    Contract or any amendments hereto, to        correct or repair the changed item disclosed, Buyer shall be allowed five (5) days after
        190.    delivery of such notice to provide notice     of disapproval to Seller.

                5. WARRANTIES
      . 191.    Condition of Premises:      BUYER AND SELLER AGREE THE PREMISES ARE BEING SOLD IN ITS PRESENT PHYSICAL
        192.    CONDITION AS OF THE DATE OF CONTRACT ACCEPTANCE. Seller makes no warranty to Buyer, either express or implied, as
        193.    to the condition, zoning, or fitness for any particular use or purpose of the Premises. However, Seller shall maintain and repair the
        194.    Premises so that at the earlier of possession or COE: (i) the Premises, including all personal property included in the sale, will be in
        195.    substantially the same condition as on the date of Contract acceptance; and (ii) all personal property not included in the sale and
        196.    debris will be removed from the Premises. Buyer is advised to conduct independent inspections and investigations regarding the
        197.    Premises within the Inspection Period as specified in Section 6a. Buyer and Seller acknowledge and understand they may, but are
        198.    not obligated to, engage in negotiations for repairs/improvements to the Premises. Any/all agreed upon repairs/improvements will be
        199.    addressed pursuant to Section 6;.

5b.     200.    Warranties that Survive Closing: Seller warrants that Seller has disclosed to Buyer and Broker(s) all material latent defects and
        201.    any information concerning the Premises known to Seller, excluding opinions of value, which materially and adversely affect the
        202.    consideration to be paid by Buyer. Prior to COE, Seller warrants that payment in full will have been made for all labor, professional
        203.    services, materials, machinery, fixtures, or tools furnished within the 150 days immediately preceding COE in connection with the
        204.    construction, alteration, or repair of any structure on or improvement to the Premises. Seller warrants that the information regarding
        205.    connection to a sewer system or on-site wastewater treatment facility (conventional septic or alternative) is correct to the best of
        206.    Seller's knowledge.

      . 207.    Buyer Warranties: Buyer warrants that Buyer has disclosed to Seller any                information that    may materially and adversely affect
        208.    Buyer's ability to close escrow or complete the obligations of this Contract.          At the earlier of   possession of the Premises or COE,
        2009.   Buyer warrants to Seller that Buyer has conducted all desired independent              inspections and      investigations and accepts the Premises.
        210.    Buyer warrants that Buyer is not relying on any verbal representations                 concerning the       Premises except disclosed as follows:
        211.     None

        212.

                6. DUE DILIGENCE
      . 213.    Inspection Period: Buyer's Inspection Period shall be ten (10) days or                   days after Contract acceptance. During the
        214.    Inspection Period Buyer, at Buyer's expense, shall: (i) conduct all desired physical, environmental, and other types of inspections
        215.    and investigations to determine the value and condition of the Premises; (ii) make inquiries and consult government agencies,
        216.    lenders, insurance agents, architects, and other appropriate persons and entities concerning the suitability of the Premises and
        217.    the surrounding area; (iii) investigate applicable building, zoning, fire, health, and safety codes to determine any potential hazards,
        218.    violations or defects in the Premises; and (iv) verify any material multiple listing service (“MLS”) information. If the presence of
        219.    sex offenders in the vicinity or the occurrence of a disease, natural death, suicide, homicide or other crime on or in the vicinity is
        220.    a material matter to Buyer, it must be investigated by Buyer during the Inspection Period. Buyer shall keep the Premises free and
        221.    clear of liens, shall indemnify and hold Seller harmless from all liability, claims, demands, damages, and costs, and shall repair all
        222.    damages arising from the inspections. Buyer shall provide Seller and Broker(s) upon receipt, at no cost, copies of all inspection
        223.    reports concerning the Premises obtained by Buyer. Buyer is advised to consult the Arizona Department of Real Estate Buyer
        224.    Advisory to assist in Buyer's due diligence inspections and investigations.

6b.     225.    Square Footage: BUYER IS AWARE THAT ANY REFERENCE TO THE SQUARE FOOTAGE OF THE PREMISES, BOTH THE
        226.    REAL PROPERTY (LAND) AND IMPROVEMENTS THEREON, IS APPROXIMATE. IF SQUARE FOOTAGE IS A MATERIAL
        227.    MATTER TO BUYER, IT MUST BE INVESTIGATED DURING THE INSPECTION PERIOD.
      . 228. Wood-Destroying Organism or Insect Inspection: IF CURRENT OR PAST WOOD-DESTROYING ORGANISMS OR INSECTS
        229. (SUCH AS TERMITES) ARE A MATERIAL MATTER TO BUYER, THESE ISSUES MUST BE INVESTIGATED DURING THE
        230. INSPECTION PERIOD. Buyer shall order and pay for all wood-destroying organism or insect inspections performed during the
        231. Inspection Period. If the lender requires an updated Wood-Destroying Organism or Insect Inspection Report prior to COE, it will be
        232. performed at Buyer's expense.

      . 233.    Flood Hazard: FLOOD HAZARD DESIGNATIONS OR THE COST OF FLOOD HAZARD INSURANCE SHALL BE
        234.    DETERMINED BY BUYER DURING THE INSPECTION PERIOD. If the Premises are situated in an area identified as having
        235.    any special flood hazards by any governmental entity, THE LENDER MAY REQUIRE THE PURCHASE OF FLOOD HAZARD
        236.    INSURANCE. Special flood hazards may also affect the ability to encumber or improve the Premises.
                                                                                                                                                                    >>

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      . 237.       Insurance: IF HOMEOWNER’S INSURANCE IS A MATERIAL MATTER TO BUYER, BUYER SHALL APPLY FOR AND
        238.       OBTAIN WRITTEN CONFIRMATION OF THE AVAILABILITY AND COST OF HOMEOWNER’S INSURANCE FOR THE
        230.       PREMISES FROM BUYER’S INSURANCE COMPANY DURING THE INSPECTION PERIOD. Buyer understands that any
        240.       homeowner's, fire, casualty, flood or other insurance desired by Buyer or required by lender should be in place at COE.

6f. 241. Sewer or On-site Wastewater Treatment System:                              The Premises are connected to a:
               . Pd sewer system          |_| conventional septic system        |_| alternative system

               . IF A SEWER CONNECTION IS A MATERIAL MATTER TO BUYER, IT MUST BE INVESTIGATED DURING THE INSPECTION
               . PERIOD. If the Premises are served by a conventional septic or alternative system, the AAR On-site Wastewater Treatment Facility
               . Addendum is incorporated herein by reference.
                                                                                                      (BUYER'S INITIALS REQUIRED) (O]               A7
                                                                                                                                     BUYER          BUYER

               .   Swimming Pool Barrier Regulations: During the Inspection Period, Buyer agrees to investigate all applicable state, county, and
               .   municipal Swimming Pool barrier regulations and agrees to comply with and pay all costs of compliance with said regulations prior to
               .   occupying the Premises, unless otherwise agreed in writing. If the Premises contains a Swimming Pool, Buyer acknowledges receipt
               .   of the Arizona Department of Health Services approved private pool safety notice.
                                                                                                      (BUYER'S INITIALS REQUIRED) cr                A7
                                                                                                                                     BUYER          BUYER

6h.            .   BUYER ACKNOWLEDGMENT: BUYER RECOGNIZES, ACKNOWLEDGES, AND AGREES THAT BROKER(S) ARE NOT
               .   QUALIFIED, NOR LICENSED, TO CONDUCT DUE DILIGENCE WITH RESPECT TO THE PREMISES OR THE SURROUNDING
               .   AREA. BUYER IS INSTRUCTED TO CONSULT WITH QUALIFIED LICENSED PROFESSIONALS TO ASSIST IN BUYER'S
               .   DUE DILIGENCE EFFORTS. BECAUSE CONDUCTING DUE DILIGENCE WITH RESPECT TO THE PREMISES AND THE
               .   SURROUNDING AREA IS BEYOND THE SCOPE OF BROKER'S EXPERTISE AND LICENSING, BUYER EXPRESSLY
               .   RELEASES AND HOLDS HARMLESS BROKER(S) FROM LIABILITY FOR ANY DEFECTS OR CONDITIONS THAT COULD
               .   HAVE BEEN DISCOVERED BY INSPECTION OR INVESTIGATION.
                                                                                                      (BUYER'S INITIALS REQUIRED)    CT             AT
                                                                                                                                     BUYER          BUYER

6i.            .   Inspection Period       Notice: Prior to expiration of the Inspection Period, Buyer shall deliver to Seller a signed notice of any items
               .   disapproved. AAR’s        Buyer's Inspection Notice and Seller's Response form is available for this purpose. Buyer shall conduct all
               .   desired inspections     and investigations prior to delivering such notice to Seller and all Inspection Period items disapproved shall be
               .   provided in a single     notice.

6).            . Buyer Disapproval: If Buyer, in Buyer's sole discretion, disapproves of items as allowed herein, Buyer shall deliver to Seller a
               . signed notice of the items disapproved and state in the notice that Buyer elects to either:
                    (1) Immediately cancel this Contract, in which case:
                            (a)   If Buyer's notice specifies disapproval of items as allowed herein, the Earnest Money shall be released to Buyer.
                            (b) If Buyer's notice fails to specify items disapproved as allowed herein, the cancellation will remain in effect but Buyer has
                                faiied to compiy with a provision of this Coniract and Seiier may deiiver to Buyer a cure notice as required by Section 7a.
                                If Buyer fails to cure their non-compliance within three (3) days after delivery of such notice, Buyer shall be in breach and
                                Seller shall be entitled to the Earnest Money. If, prior to expiration of the Cure Period, Buyer delivers notice specifying
                                items disapproved as allowed herein, Buyer shall be entitled to a return of the Earnest Money.
               . OR
                      (2)   Provide Seller an opportunity to correct the items disapproved, in which case:
                            (a) Seller shall respond in writing within five (5) days or            days after delivery to Seller of Buyer's notice of items
                                disapproved. Seller's failure to respond to Buyer in writing within the specified time period shall conclusively be deemed
                                Seller's refusal to correct any of the items disapproved.
                            (b) If Seller agrees in writing to correct items disapproved, Seller shall correct the items, complete any repairs in a
                                workmanlike manner and deliver any paid receipts evidencing the corrections and repairs to Buyer three (3) days
                                or             days prior to the COE Date.
                            (c)   If Seller is unwilling or unable to correct any of the items disapproved, Buyer may cancel this Contract within five (5) days
                                  after delivery of Seller's response or after expiration of the time for Seller's response, whichever occurs first, and the
                                  Earnest Money shall be released to Buyer. If Buyer does not cancel this Contract within the five (5) days as provided,
                                  Buyer shall close escrow without correction of those items that Seller has not agreed in writing to correct.

               . VERBAL DISCUSSIONS WILL NOT EXTEND THESE TIME PERIODS. Only a written agreement signed by both parties will extend
               . response times or cancellation rights.

               . BUYER'S FAILURE TO GIVE NOTICE OF DISAPPROVAL OF ITEMS OR CANCELLATION OF THIS CONTRACT WITHIN
               . THE SPECIFIED TIME PERIOD SHALL CONCLUSIVELY BE DEEMED BUYER'S ELECTION TO PROCEED WITH THE
               . TRANSACTION WITHOUT CORRECTION OF ANY DISAPPROVED ITEMS.
                                                                                                                                                                >>

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6k.    290.       Home Warranty Plan: Buyer and Seller are advised to investigate the various home warranty plans available for purchase. The
       291.       parties acknowledge that different home warranty plans have different coverage options, exclusions, limitations, service fees and
       292.       most plans exclude pre-existing conditions.

       293. 4 A Home Warranty Plan will be ordered by [#gBuyer or |_| Seller with the following optional coverage
       294.        Platinum     plus   pool                                  ,tobe issued     by    Old   Republic           Home   Warrant           at a cost
              . not to exceed $                         , to be paid for by [ | Buyer [#gSeller [ | Split evenly between Buyer and Seller
              . [| Buyer declines the purchase of a Home Warranty Plan.
                                                                                              (BUYER'S INITIALS REQUIRED)               ( "          AT
                                                                                                                                           OYER      BUYER
 61.          .   Walkthrough(s): Seller grants Buyer and Buyer's inspector(s) reasonable access to conduct walkthrough(s) of the Premises for
              .   the purpose of satisfying Buyer that any corrections or repairs agreed to by Seller have been completed, and the Premises are
              .   in substantially the same condition as of the date of Contract acceptance. If Buyer does not conduct such walkthrough(s), Buyer
              .   releases Seller and Broker(s) from liability for any defects that could have been discovered.

6m.           . Seller's Responsibility Regarding Inspections and Walkthrough(s): Seller shall make the Premises available for all inspections
              . and walkthrough(s) upon reasonable notice by Buyer. Seller shall, at Seller's expense, have all utilities on, including any propane,
              . until COE to enable Buyer to conduct these inspections and walkthrough(s).

én.           . IRS and FIRPTA Reporting:        The Foreign Investment in Real Property Tax Act (“FIRPTA”) provides that, if a seller is a Foreign
              .   Person, a buyer of residential real property must withhold federal income taxes up to 15% of the purchase price, unless an exception
              .   applies. If FIRPTA is applicable and Buyer fails to withhold, Buyer may be held liable for the tax. Buyer agrees to perform any acts
              .   reasonable or necessary to comply with FIRPTA and IRS reporting requirements and Buyer is responsible for obtaining independent
              .   legal and tax advice.

                  7. REMEDIES
7a.           .   Cure Period: A party shall have an opportunity to cure a potential breach of this Contract. If a party fails to comply with any
              .   provision of this Contract, the other party shall deliver a notice to the non-complying party specifying the non-compliance. If the
              .   non-compliance is not cured within three (3) days after delivery of such notice (“Cure Period”), the failure to comply shall become a
              .   breach of Contract. If Escrow Company or recorder’s office is closed on the last day of the Cure Period, and COE must occur
              .   to cure a potential breach, COE shall occur on the next day that both are open for business.

7b.           . Breach: In the event of a breach of Contract, the non-breaching party may cancel this Contract and/or proceed against the
              . breaching party in any claim or remedy that the non-breaching party may have in law or equity, subject to the Alternative Dispute
              . Resolution obligations set forth herein. In the case of Seller, because it would be difficult to fix actual damages in the event of
              .   Buyer's breach, the Earnest Money may be deemed a reasonable estimate of damages and Seller may, at Seller's option, accept
              .   the Earnest Money as Seller's sole right to damages; and in the event of Buyer's breach arising from Buyer's failure to deliver the
              .   notice required by Section 2b, or Buyer's inability to obtain loan approval due to the waiver of the appraisal contingency pursuant
              .   to Section 2, Seller shall exercise this option and accept the Earnest Money as Seller's sole right to damages. An unfulfilled
              .   contingency is not a breach of Contract. The parties expressly agree that the failure of any party to comply with the terms and
              .   conditions of Section 1d to allow COE to occur on the COE Date, if not cured after a cure notice is delivered pursuant to Section 7a,
              .   will constitute a material breach of this Contract, rendering the Contract subject to cancellation.

7c.           .   Alternative Dispute Resolution (“ADR”): Buyer and Seller agree to mediate any dispute or claim arising out of or relating to this
              .   Contract in accordance with the REALTORS® Dispute Resolution System, or as otherwise agreed. All mediation costs shall be paid
              .   equally by the parties. In the event that mediation does not resolve all disputes or claims, the unresolved disputes or claims shall
              .   be submitted for binding arbitration. In such event, the parties shall agree upon an arbitrator and cooperate in the scheduling of
              .   an arbitration hearing. If the parties are unable to agree on an arbitrator, the dispute shall be submitted to the American Arbitration
              .   Association (“AAA”) in accordance with the AAA Arbitration Rules for the Real Estate Industry. The decision of the arbitrator shall be
              .   final and nonappealable. Judgment on the award rendered by the arbitrator may be entered in any court of competent jurisdiction.
              .   Notwithstanding the foregoing, either party may opt out of binding arbitration within thirty (30) days after the conclusion of the
              .   mediation conference by notice to the other and, in such event, either party shall have the right to resort to court action.

7d.           . Exclusions from ADR: The following matters are excluded from the requirement for ADR hereunder: (i) any action brought in the
              . Small Claims Division of an Arizona Justice Court (up to $3,500) so long as the matter is not thereafter transferred or removed from

              . agreement for sale; (iii) an unlawful entry or detainer action; (iv) the filing or enforcement of a mechanic's lien; or (v) any matter that
              . is within the jurisdiction of a probate court. Further, the filing of a judicial action to enable the recording of a notice of pending action
              . (“lis pendens”), or order of attachment, receivership, injunction, or other provisional remedies shall not constitute a waiver of the
              . obligation to submit the claim to ADR, nor shall such action constitute a breach of the duty to mediate or arbitrate.

Te.           . Attorney Fees and Costs: The prevailing party in any dispute or claim between Buyer and Seller arising out of or relating to this
              . Contract shall be awarded their reasonable attorney fees and costs. Costs shall include, without limitation, attorney fees, expert
              . witness fees, fees paid to investigators, and arbitration costs.

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            8. ADDITIONAL TERMS AND CONDITIONS
8a. 344.     Both buyers      hold an active real estate license in the state of Arizona                                 ~~...
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       Residential Resale Real Estate Purchase Contract                               >>

8b.    390. Risk of Loss: If there is any loss or damage to the Premises between the date of Contract acceptance and COE or possession,
       391. whichever is earlier, by reason of fire, vandalism, flood, earthquake, or act of God, the risk of loss shall be on Seller, provided,
       392. however, that if the cost of repairing such loss or damage would exceed ten percent (10%) of the purchase price, either Seller or
       393. Buyer may elect to cancel the Contract.
              Permission:        Buyer and Seller grant Broker(s) permission to advise the public of this Contract.

8d.       . Arizona Law:          This Contract shall be governed by Arizona law and jurisdiction is exclusively conferred on the State of Arizona.

              Time is of the Essence:            The parties acknowledge that time is of the essence in the performance of the obligations described
          . herein.

 8f.      . Compensation: Seller and Buyer acknowledge that Broker(s) shall be compensated for services rendered as previously agreed by
          . separate written agreement(s), which shall be delivered by Broker(s) to Escrow Company for payment at COE, if not previously paid.
            If Seller is obligated to pay Broker(s), this Contract shall constitute an irrevocable assignment of Seller's proceeds at COE. If Buyer
          . is obligated to pay Broker(s), payment shall be collected from Buyer as a condition of COE. COMMISSIONS PAYABLE FOR THE
          . SALE, LEASING, OR MANAGEMENT OF PROPERTY ARE NOT SET BY ANY BOARD OR ASSOCIATION OF REALTORS®, OR
          . MULTIPLE LISTING SERVICE, OR IN ANY MANNER OTHER THAN BETWEEN BROKER AND CLIENT.

8g.         Copies and Counterparts: A fully executed facsimile or electronic copy of the Contract shall be treated as an original Contract.
          . This Contract and any other documents required by this Contract may be executed by facsimile or other electronic means and in any
            number of counterparts, which shall become effective upon delivery as provided for herein, except that the Disclosure of Information
          . on Lead-Based Paint and Lead-Based Paint Hazards may not be signed in counterpart. All counterparts shall be deemed to
          . constitute one instrument, and each counterpart shall be deemed an original.

8h.       . Days: All references to days in this Contract shall be construed as calendar days and a day shall begin at 12:00 a.m. and
          . end at 11:59 p.m.

 8i.      .   Calculating Time Periods: In computing any time period prescribed or allowed by this Contract, the day of the act or event from
          .   which the time period begins to run is not included and the last day of the time period is included. Contract acceptance occurs on the
          .   date that the signed Contract (and any incorporated counter offer) is delivered to and received by the appropriate Broker. Acts that
          .   must be performed three (3) days prior to the COE Date must be performed three (3) full days prior (i.e. — if the COE Date is Friday
          .   the act must be performed by 11:59 p.m. on Monday).

 8.       . Entire Agreement: This Contract, and any addenda and attachments, shall constitute the entire agreement between Seller and
          . Buyer, shall supersede any other written or oral agreements between Seller and Buyer and can be modified only by a writing signed
          . by Seller and Buyer. The failure to initial any page of this Contract shall not affect the validity or terms of this Contract.

8k.       . Subsequent Offers: Buyer acknowledges that Seller has the right to accept subsequent offers until COE. Seller understands that
          . any subsequent offer accepted by Seller must be a backup offer contingent on the cancellation of this Contract.

 8l.      . Cancellation: A party who wishes to exercise the right of cancellation as allowed herein may cancel this Contract by delivering
          . notice stating the reason for cancellation to the other party or to Escrow Company. Cancellation shall become effective immediately
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              upon    delivers
                      Genvery    of
                                 OF the
                                    the   cancellation
                                          cancenalon     notice
                                                         nouce.

am.       .   Notice: Unless otherwise provided, delivery of all notices and documentation required or permitted hereunder shall be in writing
          .   and deemed delivered and received when: (i) hand-delivered; (ii) sent via facsimile transmission; (iii) sent via electronic mail, if email
          .   addresses are provided herein; or (iv) sent by recognized overnight courier service, and addressed to Buyer as indicated in Section
          .   8q, to Seller as indicated in Section 9a and to Escrow Company indicated in Section 3a.

8n.       . Release of Broker(s): Seller and Buyer hereby expressly release, hold harmless and indemnify Broker(s) in this
          . transaction from any and all liability and responsibility regarding financing, the condition, square footage, lot lines,
              boundaries, value, rent rolls, environmental problems, sanitation systems, roof, wood infestation, building codes,
          . governmental regulations, insurance, price and terms of sale, return on investment or any other matter relating to the value
          . or condition of the Premises. The parties understand and agree that Broker(s) do not provide advice on property as an
            investment and are not qualified to provide financial, idl or tax advice regarding this real estate transaction.
              (SELLER’S INITIALS REQUIRED)                                                           (BUYER'S INITIALS REQUIRED) ( (T_                       AT
                                                              Si                                                                                              BUYER

80.           Terms of Acceptance: This offer will become a binding Contract when acceptance is signed by Seller and a saned copy delivered
              in person, by mail, facsimile or electronically, and received by Broker named in Section 8q
          . by       August      22                                               ,_2022                 at_5:00                   am/   4. Mountain Standard Time.
            Buyer may withdraw this offer at any time prior to receipt of Seller's signed acceptance. If no signed acceptance is received by this
          . date and time, this offer shall be deemed withdrawn and Buyer's Earnest Money shall be returned.

8p.         THIS CONTRACT CONTAINS TEN (10) PAGES EXCLUSIVE OF ANY ADDENDA AND ATTACHMENTS. PLEASE ENSURE
          . THAT YOU HAVE RECEIVED AND READ ALL TEN (10) PAGES OF THIS OFFER AS WELL AS ANY ADDENDA AND
          . ATTACHMENTS.

                                                                                                                                                                         >>

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                 Residential Resale Real Estate Purchase Contract >>

                 Broker on behalf of Buyer:
                     Craig      Thompson                                                             15650                                                SA541723000
                 PRINT       AGENT'S           NAME                                                 AGENT        MLS    CODE                             AGENT     STATE    LICENSE      NO.



                 PRINT       AGENT'S           NAME                                                 AGENT        MLS    CODE                             AGENT     STATE    LICENSE      NO.

                     Realty          Executives            Arizona         Territory                                                                      498312
                 PRINT FIRM NAME                                                                                                                         FIRM MLS CODE
             .    9172 Ss Houghton                    Rd    No.      110    Tucson                                AZ               85747                  LC640973012
                 FIRM ADDRESS                                                                                    STATE           ZIP CODE                FIRM STATE LICENSE          NO.
                     (520)      256-6117                                                                                Craigthompsonhomes@gmail.com
                 PREFERRED              TELEPHONE                   FAX                                                EMAIL


8r.          . Agency Confirmation:                        Broker named in Section 8q above is the agent of (check one):
             . PBuyer;               |_| Seller; or |_| both Buyer and Seller

             . The undersigned agree to purchase the Premises on the terms and conditions herein stated and acknowledge receipt of
             . a copy hereof including the Buyer Attachment.
                 Craig [hempsen                                                            08/20/2022 Ana                 Thompson                                              08/20/2022
                 ~   BU       R’'S    SIGNATURE                                            MO/DA/YR          A    BUYER'S        SIGNATURE                                      MO/DA/YR


                     Craig      Thompson                                                                         Ana     Thompson
                 A~BUYER'S            NAME      PRINTED                                                      A    BUYER'S        NAME      PRINTED


             .       10199      East      Covington               Street                                         10199     East         Covington        Street
                 ADDRESS                                                                                     ADDRESS


                     Tucson          Arizona      85748                                                          Tucson
                 CITY,     STATE,        ZIP    CODE                                                         CITY,       STATE,     ZIP   CODE


                 9. SELLER ACCEPTANCE
9a.          . Broker on behalf of Seller:

      458.           Kehaulani           Kerr                                                        36737                                                SA664000000
                                                                                                                                                          SA664000000
                 PRINT       AGENT'S           NAME                                                 AGENT        MLS    CODE                             AGENT     STATE    LICENSE      NO.


      459.           Marjan          W Polek                                                         53289                                                BR657009000
                                                                                                                                                          BR657009000
                 PRINT       AGENT'S           NAME                                                 AGENT        MLS    CODE                             AGENT     STATE    LICENSE      NO.

                      AZ Flat Fee
                      AZ Flat Fee                                                                                                       52130
                                                                                                                                        52130
                 PRINT       FIRM      NAME                   B                                                                FIRM     MLS     CODE

                     3303 E
                     3303 E Baseline
                            Baseline Rd
                                     Rd #119, Gilbert, AZ
                                        #119, Gilbert, AZ 85234
                                                          85234                                                                                               LC679444000
                                                                                                                                                              LC679444000
             ’   FIRM      ADDRESS                                                                 STATE                          ZIP    CODE               FIRM    STATE    LICENSE         NO.


                     520-462-8525
                     520-462-8525                                                                                       tucsonoffers@azflatfee.com
                 PREFERRED              TELEPHONE                   FAX                                                EMAIL


9b.              Agency Confirmation:     Broker named in Section 9a above is the agent of (check one):
                 X Seller; or |_| both Buyer and Seller
                 X]

             . The undersigned agree to sell the Premises on the terms and conditions herein stated, acknowledge receipt of a
               copy hereof and grant permission to Broker named in Section 9a to deliver a copy to Buyer.

             . [X]
               X Counter Offer is attached, and is incorporated herein by reference. Seller must sign and deliver both this offer and the Counter
                   Offer. If there is a conflict between this offer and the Counter Offer, ti{&" provisions of the Counter Offer shall be controlling.
                          ane E (atta                                 1:22PM              08/22/22                      Brian (atta                          3:10pm             08/22/22
                 ANSELLER’S            SIGNATURE                                           MO/DA/YR          ~         LLER’'S    SIGNATURE                                     MO/DA/YR

                     Diane E
                     Diane E Latta
                             Latta                                                                                 JJ Brian
                                                                                                                      Brian Latta
                                                                                                                            Latta
                 A SELLER'S            NAME      PRINTED                                                     AN SELLER'S          NAME         PRINTED



                 ADDRESS                                                                                     ADDRESS



                 CITY,       STATE,      ZIP    CODE                                                         CITY,       STATE,     ZIP   CODE

             . |_| OFFER REJECTED BY SELLER:                                                                                            , 20
                                                                            MONTH                                 DAY                          YEAR          (SELLER'S       INITIALS)


                 For Broker Use Only:
                     Brokerage File/Log No.                                             Manager's Initials                        Broker's Initials                  Date
                                                                                                                                                                            MO/DA/YR
                                                                  Residential Resale Real Estate Purchase Contract « Updated: February 2020
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AuneDigiSign Verified - 8ace4da9-1194-4dab-8a00-b0b5b6dc16fel
                                                                                                                                                                             Document updated:
         COU         NTER                    OFFER                                     1

         (      )                                  The pre-printed portion of this form has been drafted by the Arizona Association of REALTORS®.
                       ARIZONA                     Any change in the pre-printed language of this form must be made in a prominent manner.
                       association of              No representations are made as to the legal validity, adequacy and/or effects of any provision,
                       REALTORS’              |    including tax consequences thereof. If you desire legal, tax or other professional advice, please                             REALTOR:   Snvaium
         REAL SOLUTIONS. REALTOR® SUCCESS.         consult your attorney, tax advisor or professional consultant.


         This is a Counter Offer originated by:                         X]    Seller          Buyer          Landlord        Tenant
    Nb




         This is a Counter Offer to the                     X | Offer             Counter Offer dated                       08/22/2022                 between the following Parties:
                                                                                                                            MO/DA/YR

          Seller/Landlord:                                        Diane       E    Latta                                                           J Brian      Latta
          Buyer/Tenant:                                     Craig            Thompson                                                          Ana     Thompson
    or




          Premises Address:             3222            N       Riverbend          Pl                                                              Tucson                   AZ          85750

         Acceptance of the above Offer and/or Counter Offer is contingent upon agreement to the following:
          Full       Purchase            Price              to     be    $668,000
    N




          Change          Line        295     to        indicate              Buyer         to      pay    for   Home   Warranty
    ©




          Buyer agrees to provide                                      a Post Possession agree to the                             seller for 15 days after close
          of escrow at no charge.                                      Fully executed Post Possession                             agreement to be signed by both
          parties within 72 hours                                      of contract acceptance.




         Terms of Acceptance: Unless acceptance of this Counter Offer is signed by all parties and a signed copy delivered in person, by mail,
         facsimile or electronically, and received by the originating party’s Broker named in the Contract Section 8q or 9a as applicable
          by           08/23/2022                  at             2               a.m. X] p.m., Mountain Standard Time, this Counter Offer shall be considered withdrawn.
          Except as modified by this Counter Offer, all other terms and conditions of the above referenced Offer/Counter Offer(s) shall remain
         unchanged and deemed accepted. Until this Counter Offer has been accepted in the manner described above, the Parties understand
         that the Party originating this Counter Offer may withdraw the offer to buy, sell, or lease the Premises.
               ¢ lifidersi ned acknowledges receipt of a copy hereof.
                                  atta                                                                                         08/22/2022                           1:22 PM
                                                                                                                    Date:                               Time:
               ether                  Buyer                      Landlord                  Tenant                                                                   _._
                Brian (atta                                                                                         bate. 08/22/2022                    oo              °
                Seller                Buyer                      Landlord                  Tenant


          4 RESPONSE
         An additional Counter Offer is attached, and is incorporated by reference. If there is a conflict between this Counter Offer and the
         additional Counter Offer, the provisions of the additional Counter Offer shall be controlling.

               Chace       Thompson                                                                                 Date:      08/22/2022               Time:
                Sell&r       ™        Buyer                      Landlord                  Tenant

                HAna_Thompson                                                                                       Date: _ 08/22/2022                  Time:
                Seller        ™       Buyer                      Landlord                  Tenant

                 ACCEPTANCE
         The undersigned agrees to the terms and conditions of this Counter Offer and acknowledges receipt of a copy hereof.

                                                                                                                    Date:                               Time:
                Seller                Buyer                      Landlord                  Tenant

                                                                                                                    Date:                               Time:
                Seller                Buyer                      Landlord                  Tenant
             For Broker Use Only:
                    Brokerage File/Log No.                                                 Managers Initials                   Broker's Initials
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                           Counter Offer » Updated: June 2021 » Copyright © 2021 Arizona Association of REALTORS®. All rights reserved.
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               Marjan             W    Polek                |     AZ     Flat           Fee         |     480-780-1047            |
Authentisign ID: 66B90DD9-8322-ED11-BD6E-501AC56BB54D




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                                                             Post Possession Agreement
                                          (AGREEMENT FOR SELLER TO OCCUPY AFTER CLOSE OF ESCROW)


                   This is an Addendum to the Contract dated _______________
                                                              8/22/2022      between the following parties:

                   Seller: ________________________________________________________________________
                               Diane E Latta and J Brian Latta

                   Buyer: ________________________________________________________________________
                               Craig Thompson and Ana Thompson

                   Property Address: ______________________________________________________________
                                         3222 N Riverbend Place, Tucson, AZ 85750

                   The following additional terms and conditions are hereby included as part of the purchase
                   contract described above. This agreement is intended to grant possession of the property
                   described herein after the close of escrow. Buyer and Seller acknowledge that they have been
                   advised to seek counsel (legal, financial, etc) regarding the advisability and implication of
                   entering into this agreement.

                   OCCUPANCY PERIOD AND COMPENSATION: Upon execution of this agreement by both parties,
                   Buyer hereby grants permission to Seller to retain possession of said premises as of the date
                   title is transferred (close of escrow) to and including ______________.
                                                                            10/6/2022        Seller shall pay Buyer as
                   compensation for the use of said premises the sum of $ ___________ per __________.
                                                                                   0                day
                   Compensation for ________________ is due on or before close of escrow in the amount
                                           N/A
                   $ _____________
                         0              and shall be made payable to the ___________________.
                                                                            N/A                    All terms and
                   conditions of this agreement shall remain in effect until Seller vacates the premises.

                   DEPOSIT: An amount of $ ______________
                                            2000             of Seller’s proceeds shall be held in escrow as
                   damage and security deposit under the terms and performance of this agreement.

                   USE OF SECURITY DEPOSIT: Seller agrees to surrender possession of the premise to the Buyer in
                   substantially the same condition as at close of escrow. Buyer may retain all or part of the
                   damage deposit for payment of any obligation or charges incurred by the Seller or caused to be
                   incurred by the Seller for changes or repairs to the premises which arose out of the Seller’s use
                   and occupancy under the terms of this agreement. Buyer shall return any unused portion of
                   said deposit to Seller within 10 days after the Seller vacates the premises with any itemization
                   of any monies withheld which may not be unreasonably withheld.

                   USE OF PREMISES: Seller shall use the premises as a personal residence only and shall abide by
                   all laws and governmental regulations with respect to the use and occupancy of the premises.

                   UTILITIES/SERVICES: Seller shall have all utilities and services remain in Seller’s name and shall
                   pay charges for all use during the term of this agreement.


                   Seller Initials _______              _______                    Buyer Initials _______   _______




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                   HOLD HARMLESS: Seller shall hold the Buyer and all Real Estate Brokers and Agents in this
                   transaction harmless from any claims, liability, damages or injury to Seller, or any other person
                   or to any property, which occurs on the premises or arises out of Seller’s occupancy and use of
                   the property, or under the terms and conditions of this agreement. Buyer shall hold all Real
                   Estate Brokers and Agents harmless from any damages or loss occurring as a result of Seller’s
                   occupancy of said property. Buyer acknowledges that he has not relied on any
                   recommendations or representation made by any Agent of Broker’s concerning the Seller.

                   INSURANCE: Seller shall secure and maintain insurance for personal property and public liability
                   on the premises, during the term of this agreement, naming Buyer as co-insured. Buyer shall
                   secure and maintain adequate hazard insurance to cover the change in occupancy status of the
                   premises (RENTAL).

                   MAINTENANCE: Seller shall maintain all mechanical and electrical systems, pool (if applicable),
                   sewer lines, landscaping, plumbing, appliances, and equipment in normal working order, to
                   keep the roof water tight and to maintain the grounds, during the term of this agreement.

                   CHANGES TO THE PREMISES: Seller shall not perform any changes to the premises in any way
                   without Buyer’s prior written consent.

                   LIENS, JUDGEMENTS, AND ENCUMBRANCES: Seller will not allow any liens, judgments, or other
                   encumbrances to be placed against the premises during the term of this agreement.

                   ASSIGNMENT: Seller shall not assign this agreement, nor sublet any portion of the premises
                   without the written prior consent of the Buyer.

                   LEGAL COSTS: Seller agrees to pay all costs in any legal action instituted by Buyer to enforce the
                   terms hereof or for the eviction of Seller from the premises, including any reasonable
                   attorney’s fees.

                   BUYERS RIGHT TO ENTER PREMISES: Buyer or Buyer’s authorized Agent shall have the right to
                   enter the premises in case of emergency, or for the purpose of inspection, performing
                   necessary repairs or alternations, or to supply necessary or agreed upon service. Buyer shall
                   have the right to enter the premises to assist Seller in moving belongings.

                   C .C. & R.’s: Seller shall be responsible to pay all fines or assessments levied against Buyer of
                   the premises due to Seller’s actions or conduct in violation of the C. C. & R. and Rules and
                   Regulations of the Homeowners Association.



                   Seller Initials _______              _______                    Buyer Initials _______   _______




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                   ENTIRE AGREEMENT: This addendum contains the entire agreement between Seller and Buyer
                   with regard to the Seller’s possession of the subject property after the close of escrow. This
                   Agreement shall bind upon and exist for the benefit of the parties hereto, their heirs,
                   successors, personal representatives and assigns. No other agreement or statement of promise
                   made by any party not contained herein shall be binding or valid.



                   _______________________________________________________

                   SELLER                                                DATE



                   _______________________________________________________

                   SELLER                                                DATE



                   _______________________________________________________

                   BUYER                                                 DATE



                   _______________________________________________________

                   BUYER                                                 DATE




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